     3:18-cv-01107-JMC         Date Filed 04/23/18        Entry Number 1-1      Page 1 of 18




                                                                                                       ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
STATE OF SOUTH CAROLINA             )                IN THE COURT OF COMMON PLEAS
                                    )                FOR THE THIRD JUDICIAL CIRCUIT
COUNTY OF SUMTER                    )                DOCKET NO. 2018-CP-43-________
                                    )
Jay V. Willard,                     )
                                    )
                    Plaintiff,      )
                                    )                              SUMMONS
               v.                   )                 (Breach of Contract –Jury Trial Demanded)
                                    )
Nationwide Agribusiness Insurance   )
Company,                            )
                                    )
                                                                          A
                    Defendant.      )
____________________________________)

TO THE DEFENDANT(S) ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,

a copy of which is herewith served upon you, and to serve a copy of your Answer to the said

Complaint on the subscribers, The Law Offices of William H. Johnson, LLC, at their offices, Post

Office Box 137, Manning, South Carolina, within thirty (30) days after the service hereof, and if

you fail to answer the Complaint within the time aforesaid, the Plaintiff(s) will apply to the Court

for a judgment by default against you for the relief demanded in the Complaint.

                                      LAW OFFICES OF WILLIAM H. JOHNSON, LLC

                                      By:     s/William H. Johnson
                                              William H. Johnson, S. C. Bar No. 15167
                                              PO Box 137 – 411 N. Brooks St.
                                              Manning, South Carolina 29102
                                              Telephone: (803) 435-0909
                                              Facsimile: (803) 435-2858
                                              william@whjohnsonlaw.com
                                              Attorneys for the Plaintiff
March 22, 2018




                                            Page 1 of 8
       3:18-cv-01107-JMC       Date Filed 04/23/18        Entry Number 1-1      Page 2 of 18




                                                                                                        ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
STATE OF SOUTH CAROLINA             )                 IN THE COURT OF COMMON PLEAS
                                    )                 FOR THE THIRD JUDICIAL CIRCUIT
COUNTY OF SUMTER                    )                 DOCKET NO. 2018-CP-43-________
                                    )
Jay V. Willard,                     )
                                    )
                    Plaintiff,      )
                                    )                               COMPLAINT
               v.                   )                 (Breach of Contract –Jury Trial Demanded)
                                    )
Nationwide Agribusiness Insurance   )
Company,                            )
                                    )
                    Defendant.      )
____________________________________)

          1.   The Plaintiff is a citizen and resident of Sumter County, South Carolina.

          2.   The Defendant, upon information and belief, is an insurance company, licensed to

do business and doing business in the State of South Carolina.

          3.   The Plaintiff is a farmer, with his principal place of business and operations located

in Sumter County, South Carolina.

          4.   This is an action on an insurance policy issued by the Defendant, which policy was

issued in Sumter County, and the loss upon which this action is based occurred in Sumter County.

Accordingly, this Court has jurisdiction over the parties and subject matter herein, and venue is

proper.

          5.   For a substantial period of time prior to March 2012, the Plaintiff maintained a

policy of insurance issued by the Defendant on his farm equipment, paying his premiums when

due.

          6.   On or around February 7, 2012, the Plaintiff agreed to purchase a John Deere 9976

Cotton Picker. A copy of the Customer Purchase Order for the Picker is attached as Exhibit 1.

          7.   On or around March 16, 2012, the Plaintiff took delivery of the Picker.



                                            Page 2 of 8
     3:18-cv-01107-JMC           Date Filed 04/23/18         Entry Number 1-1        Page 3 of 18




                                                                                                             ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
        8.      On or around March 16, 2012, the Plaintiff notified his insurance agent of his

purchase of the Picker, and requested that the Picker be added to the list of equipment insured by

the policy issued by the Defendant.

        9.      On or around March 27, 2012, the Plaintiff secured financing for the purchase by

executing in favor of Arbor One, ACA, his Promissory Note in the amount of Eighty-three

Thousand Nine Hundred Sixty-nine and 84/100ths ($83,969.84) Dollars.

        10.     Also on March 27, 2012, Arbor One, ACA issued its check jointly payable to John

Deere and the Plaintiff in the amount of Seventy-nine Thousand Two Hundred Fifty and 00/100ths

($79,250.00) Dollars representing payment in full for the Picker.

        11.     Upon the purchase of the Picker by the Plaintiff, the Picker became subject to a

Security Agreement previously signed by the Plaintiff in favor of Arbor One, ACA, which

Agreement provided Arbor One, ACA with a security interest in the Picker, which interest was a

first lien, with priority over any other liens. The security interest was perfected by the filing of a

UCC Financing Statement with the South Carolina Secretary of State. A copy of the financing

statement is attached as Exhibit 2.

        12.     Between the dates of March 16, 2012, and the date of the filing of this Complaint,

the Plaintiff has paid to the Defendant a premium to maintain insurance coverage on the Picker,

which coverage is intended to reimburse the Plaintiff for the loss of the Picker in the event of loss

by fire or theft.

        13.     On a date close in proximity to the first (1st) day of November, 2017, the Plaintiff

discussed with a third (3rd) party the possibility of a sale of the Picker to the third (3rd) party, whose

name the Plaintiff knew as Jimmy Lowery (“Lowery”).




                                               Page 3 of 8
     3:18-cv-01107-JMC          Date Filed 04/23/18        Entry Number 1-1       Page 4 of 18




                                                                                                        ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
       14.     Prior to agreeing to purchase the Picker, Lowery requested permission to remove

the Picker from the Plaintiff’s storage facility in order to clean and inspect the Picker.

       15.     The Plaintiff granted permission to Lowery to remove the Picker from the

Plaintiff’s property, but did not grant permission to Lowery to use the Picker to pick cotton. The

Plaintiff emphatically stated to Lowery, “I need a check before the Cotton Picker goes to the field.”

       16.     On a date unknown to the Plaintiff, and completely without the Plaintiff’s

authorization, Lowery contacted an agent for the Defendant and requested insurance coverage on

the Picker through a policy issued to Lowery.

       17.     Without any documentation of ownership of the Picker, the Defendant placed

insurance coverage on the Picker through a policy naming Lowery as the owner.

       18.     On November 6, 2017, the Picker was destroyed by fire while in use by Lowery.

       19.     On a date unknown to the Plaintiff, Lowery submitted a claim to the Defendant

seeking payment for loss of the Picker.

       20.     The Defendant paid Lowery pursuant to the terms of the policy issued by the

Defendant.

       21.     Upon learning of the loss of his Picker, the Plaintiff submitted a claim to the

Defendant for the loss of the Picker.

       22.     The Defendant denied the Plaintiff’s claim.

       23.     The Plaintiff retained counsel, who submitted additional information to the

Defendant, clearly establishing the Plaintiff’s entitlement to recovery pursuant to the policy issued

by the Defendant.

       24.     The Defendant has failed and refused to pay the Defendant’s claim.




                                             Page 4 of 8
     3:18-cv-01107-JMC         Date Filed 04/23/18         Entry Number 1-1      Page 5 of 18




                                                                                                        ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
                              FOR A FIRST CAUSE OF ACTION
                                    (Breach of Contract)

          25.   Each and every allegation above is realleged and incorporated as if fully restated

herein verbatim.

          26.   The policy issued by the Defendant constitutes a valid and binding contract between

the parties.

          27.   The loss of the Picker by the Plaintiff constituted a loss which was covered by the

policy, and therefore entitled the Plaintiff to payment from the Defendant for the value of the

Picker.

          28.   By failing to pay the Plaintiff for his loss, the Defendant has breached the contract

between the Plaintiff and Defendant.

          29.   The Plaintiff is entitled to actual and consequential damages as a result of the

Defendant’s breach of contract, in an amount to be determined by a jury.

                            FOR A SECOND CAUSE OF ACTION
                                 (Bad Faith Refusal to Pay)

          30.   Each and every allegation above is realleged and incorporated as if fully restated

herein verbatim.

          31.   The Defendant owed Plaintiff a duty of good faith and fair dealing and implicitly

covenanted to refrain from doing anything to impair Plaintiff’s rights to receive benefits under the

insurance contract.

          32.   That Defendant, through its agents, servants, and/or employees, knowing that

Plaintiff’s claim is wholly valid and should be paid, have wrongfully and in breach of the implied

covenant of good faith and fair dealing, withheld and denied the benefits due to Plaintiff. In




                                             Page 5 of 8
     3:18-cv-01107-JMC           Date Filed 04/23/18         Entry Number 1-1     Page 6 of 18




                                                                                                        ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
denying their claim for benefits, Defendant has acted wrongfully, unreasonably and in bad faith in

the following respects, among others:

                a.      Defendant failed and refused to make an adequate investigation before

withholding benefits under the insurance policy.

                b.      Defendant refused and continued to refuse to give reasonable interpretations

to the provisions in the policy of insurance, or any reasonable application of such provisions to

Plaintiff’s claim and has acted to protect its own financial interest therein at the expense of

Plaintiff’s rights.

                c.      Defendant has failed to provide Plaintiff with any reasonable or justifiable

basis for denying Plaintiff’s claim in relation to the insurance policy, the facts or applicable law.

                d.      Defendant paid Lowery for the Picker when the Defendant knew or should

have known that the Picker was insured by the Defendant under the Plaintiff’s policy;

                e.      Knowing that the Picker originally belonged to the Plaintiff, the Defendant

paid Lowery without requiring evidence of transfer of the Picker to Lowery;

                f.      Defendant has refused to pay the Plaintiff based upon its mistaken decision

to pay Lowery, when the Defendant’s relationship with Lowery has no relevance to the

Defendant’s duties to the Plaintiff.

        33.     Defendant’s refusal to pay benefits due compelled Plaintiff to engage legal counsel

to initiate litigation to recover such benefits.

        34.     That as a direct and proximate result of the conduct of Defendant, the Plaintiff has

sustained substantial compensable losses including withheld benefits, certain consequential

damages, attorney’s fees and costs.




                                               Page 6 of 8
     3:18-cv-01107-JMC         Date Filed 04/23/18         Entry Number 1-1      Page 7 of 18




                                                                                                        ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
       35.     That Defendant’s actions were willful, wanton and/or in reckless disregard for

Plaintiff’s rights and Plaintiff is informed and believes that he is entitled to punitive damages

against the Defendant.

       36.     That Plaintiff is informed and believes that he is entitled to judgment against the

Defendant, for actual and punitive damages, and for attorney’s fees and costs, as the jury may

determine.

                             FOR A THIRD CAUSE OF ACTION
                                     Civil Conspiracy

       37.     Each and every allegation above is realleged and incorporated as if fully restated

herein verbatim.

       38.     Upon receiving the claim from the Plaintiff, the Defendant discussed the Plaintiff’s

claim with Lowery, for the sole purpose of obtaining support to deny the Plaintiff’s claim.

       39.     The actions of the Defendant, specifically in collecting unreliable information from

Lowery constitute an unlawful combination of two (2) or more persons to damage the Plaintiff,

specifically to deprive the Plaintiff of the benefits of the insurance policy for which he paid.

       40.     The Plaintiff is entitled to damages from the Defendant resulting from the civil

conspiracy of the Defendant, in an amount to be determined by a jury.

       WHEREFORE, having fully stated his Complaint against the Defendant, the Plaintiff prays

that the Court inquire into the matters alleged herein and issue its Order:

       1.      On the First Cause of Action, for damages resulting from the Defendant’s breach

               of contract in an amount to be determined by a jury;

       2.      On the Second Cause of Action, for actual and punitive damages, and attorney’s

               fees incurred, resulting from the Defendant’s bad faith refusal to pay benefits, in an

               amount to be determined by a jury;

                                             Page 7 of 8
    3:18-cv-01107-JMC       Date Filed 04/23/18        Entry Number 1-1     Page 8 of 18




                                                                                                ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
      3.     On the Third Cause of Action, for actual and punitive damages resulting from the

             Defendant’s civil conspiracy, in an amount to be determined by a jury; and

      4.     For such other and further relief as the Court may deem just and proper.

                                   LAW OFFICES OF WILLIAM H. JOHNSON, LLC

                                   By:     s/William H. Johnson
                                           William H. Johnson, S. C. Bar No. 15167
                                           PO Box 137 – 411 N. Brooks St.
                                           Manning, South Carolina 29102
                                           Telephone: (803) 435-0909
                                           Facsimile: (803) 435-2858
                                           william@whjohnsonlaw.com
                                           Attorneys for the Plaintiff
March 22, 2018




                                         Page 8 of 8
3:18-cv-01107-JMC   Date Filed 04/23/18   Entry Number 1-1   Page 9 of 18




                                                                            ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
                         EXHIBIT 1

             Customer Purchase Order
             3:18-cv-01107-JMC                              Date Filed 04/23/18                           Entry Number 1-1                           Page 10 of 18




                                                                                                                                                                                  ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
I
.
     v)\ 1ir1J
         .. JOHN DEERE                                               Customer Purchase Order                                          PO#         01467567
    �\                                                          For John Deere Products (U.S. Only)                                   PO Revision# Original
          CUSTOMER'S NAME -First Signer (First. Middle Initial, Last)        DATE OF ORDER                   ICUMPANY UNIT                    IDEALER ACCOUNT NO.
          JAY VWILLARD                                                       Feb 07, 2012                    101                              !010900
          {SECOND LINE OF OWNER NAME)                                        DEALER ORDER NO.

          STREET OR RR                                                       SOC.SEC                         IIRSNO.                          IEIN.NO
          1060 S BRICK CHURCH RD                                                                             I
          TOWN                            STATE   ZIP CODE                   TRANSACTION TYPE                                   URCHASER SALES TAX EXEMPT
                                         !                                                                                     r
         GABLE                            SC      29051                      Cash Sale
         USE COUNTY                URCHASER ACCT. PHONE NO.                  SELLER'S NAME & ADDRESS
                                  t
         Sumter                                           803..496-8804      BLANCHARD EQUIPMENT CO., INC
          E-MAIL ADDRESS                                                     2627 Colonel Thomson Hwy
                                                                             ST MATTHEWS, SC, 29135
          CUSTOMER'S NAME· Second Signer                                     I (We), the undersigned. hereby order from you the Product described below, to be delivered
                                                                             as shown below. Thi• order is subject to your ability to obtain such Product from lhe
         STREET OR RR                                                        manufacturer and you shall be under no liability if delivery of the Product is delayed 01
                                                                             prevented due to labor disturbances. transportation difficulties. or for any reason beyond your
                                                                             control. The price shown below is subject to your receipt of the Product prior to any change in
         TOWN                                   STATE     ZIP CODE           price by the manufacturer It is also subject to any new or increased t8l<es imposed upon the
                                               I                             sale of the Product after the date of this order.
                                                                                    Customer's                                       Date
                                                                                    Signature                                        Accepted
         ± NOTICE: Prodocts may be equipped wrth telematics hardware arc sonware l I e1emat1CS"J tnat transmrt aata to JOnn oeere,uea,er. Purcnaser may aeactivate

                      R
                      E                                                                                                                                   DELIVERED
                    D N u                                                                                        Hours         PRODUCT                    CASH PRICE
                       s                                           PRODUCT                                                  IDENTIFICATION               (Or Total Lease
                 N E    T                                                                                          of
                 E M A E
          QTY WO L D                                   (Give Mo del, Size & Description)                          Use           NUMBER                     Payments)
            1                X JOHN DEERE 9976 COTION PICKER                                                    J      n09976x009174                         $79,000 00
         I (We) otter to sell. transfer, and convey the fonowing item(s) at or prior to the lime of delivery of the
         above Product, as a "trade-in" to be applied against the cash' price. Such item{s) shall be free and
         clear of all security agreements, liens, and encumbrances at the tilre of transfer to you. The following
         is a aescription and the price to be allowed for each item.                                                TOTAL CASH PRICE                            $79,000     00

          QTY                                      DESCRIPTION OF TRADE-IN                        I   Hours
                                                                                                      of Use
                                                                                                                               PRODUCT
                                                                                                                        IDENTIFICATION NUMBER
                                                                                                                    TOTAL TRADE-IN ALLOWANCE
                                                                                                                                                            AMOUNT
                                                                                                                                                                    $0      00
          PURCHASER TYPE                           MARKET USE                                                      1. TOTAL CASH-PRICE                        S 79,000      00
             Fann                                  15 Row Crop/Small Grain                                         2. TOTAL TRAOE-lN ALLOWANCE                      $0      00
         COMMENTS:                                                                                                 3. TOTAL TRADE-IN PAY-OFF                        $0      OD
                                                                                                                   ,4, BALANCE                                $79,000       00
                                                                                                                   5.
                                                                                                                                                                   --·�·-
                                                                                                                   6.
                                                                                                                   7.
                                                                                                                   8. SUB-TOTAL                               S 79.000 00
                                                                                                                   9. CASH WITH ORDER                               $0 00
                                                                                                                   10. RENTAL APPLIED                               $0 00
                                                                                                                   11. CASH DISCOUNT                                $0 00
                                                                                                                   12. BALANCE DUE                            $ 79,0DD 00


                 As'ku=E t�rrWo 1!1s sr-t t�� 11tffi'ktyV::.Jt:i.��·A�gt��lf1�o'NrRitt��t1�by��:���I� iiDMi��i�:Ue��;w�·�g li�N��
         IMPORTANT WARRANTY NOTICE:The John Deere warranty app'icable to new John Deere product(s) is printed as an attachment to this document. There is no
         Pu�fi'l
         ARE NOT MADE AND ARE EXCLUDED UNLESS SPECIFICALLV PROVIDED IN THE JOHN DEERE WARRANTY.
         :t Notwithstanding Purchaser's right, titie or interest in the Products, Purchaser agrees that John Deere and Dealer (their affiliates, successor; and assigns),
         without further notice to Purchaser have the right to: {i) access, use, collect and disclose any data generated by, collected by, or stored In. Products or any
         hardware or devices interfacing with Products ("Machine Data"): (fi) access Machine Data directly through data reporting devices Integrated within. or attached to.
          Products, including Telematics ("Data Reporting Systems"): (iii) update the Data Reporting Systems software from time to time. Machine Data will only be used in
         accordance with John Deere's Machine Data PoUcy, locatea at www.JohnDeere.com/MachineOataPolicy. Machine Data may be transfenred out ot the country
         where it is generated, induding to tlle U.S.A.
         DISCLOSURE OF REGULATION APPLICABILITY: When operated in California, any off-road diesel vehicle may be subject to !he California Nr Resources Board. In-Use
         Off-Road Diesel Vehicle Regulation. It therefore could be subject to retrofit or accelefated turnover requirements to reduce emissions ol air pollutants.
         ACKNOWLEDGEMENTS -1 {We) promise to pay !he balance due Qine 12) shown above in cash, or to execute a Tima Sale Agreement (Reta« lnstallmentCootract), or a
         Loan Agreemen� for the purchase price of the Product, plus additional charges shown thereon or execute a Lease Agreement. on or before delivery ol the Product ordered
         herein. besprte physical detivery of the Product,btie shall remain in the seller until one of !he foregoing is accomplished.
         Customer's                                                                     Accepted
         Signature                                                                      By

         Customer' s                                                                     Date                                   Salesperson             WAY.LEWIS
         Signature                                                                       Accepted
         DELIVERY                        DELIVERED ON:                WARRANTY BEGINS:                                      SIGNATURE: (DEALER)
         ACKNOWLEDGEMENT:
                                             Fob 28, 2013




         Page 1 of 3
    3:18-cv-01107-JMC                                     Date Filed 04/23/18                           Entry Number 1-1                               Page 11 of 18




                                                                                                                                                                                     ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
                                           WARRANTY FOR NEW JOHN DEERE AGRICULTURAL PRODUCTS AND
                                     LIMITED WARRANTY FOR NEW TURF & UTILITY EQUIPMENT (US & CANADA ONLY)
A. GENERAL PROY!SIONS - Wrth respect to purchasers in the United States, "John Deere· mear.s Deere & Company, 1 John Deere Place, Moline, IL 61 265, and with
respect to purchasers in Canada, "John Deere· means John Deere Limited, 295 Hunter Road, P. 0. Box 1000, Grimsby, Ontario L3M 4H5. The warranties described below
are provided by Jchn Deere to the original purchasers of new Agricultural, Turf and Utility Equipment ("Equipment") purchased from John Deere or authorized John Deere
dealers (the "selling Dealer} These warranijes apply only to Equipment intended for sale in Canada and lhe US. Under these warranlies, John Deere will repair or replace,
at its option, any part covered under these warranties which is found to be defective in material or workmanship during the applicable warranty term. Warranry service must
be performed by a dealer or service center located in Canada or the US, and authorized by John Deere to sell and/or se,vice the type of Equipment involved (Iha "authorized
dealer'). The authonzed dealer will use only new or remanufactured parts or components furnished or approved by John Deere. Warranty se,vice will be performed without
charge to the purchaser for parts and/or labor. However. the purchaser will be responsible for any service call and/or transportation of Equipment to and from the authorized
deale(s place of business (except where prohibited by law). for any premium charged for overtime labor requested by the purchaser and for any service and/or maintenance
not diractly related to any defect covered under these warranties. These warranties are transferable, provided an authorized John Deere dealer is notified of the ownership
change, and John Deere approves the warranty transfer.
B. WHAT IS WARRANTED - Subject to par.JgraP!] C, all parts of ant new Equipment are warranted for the number of months or operati hours s 'lied below. Each
warranty term begins on the date ordelivery of lhe Equ1P.meot to the original purchaser, /exceRt for certain agrio.iltural tillaQl!, planting, cultiv  harvesting products
which may have a delayed warranty stat date, but only 1f established by John Deere anc/ noted by the selling dealer on the Purchase Order)              In Compact Utility
Tractor Powertrain Warranty • Engine: cyinder blOCK, cylinder head, valve covens, oil pan, timing gear covers, flywheel housing, and all parts contained therein (does not
include fuel, electrical, cooling, intake or exhaust components). Powertrain: hydrostatic transmission, transmiss10n case, differential and axle housings, clutch housings,
MFWO from axle assembly, and all parts contained !herein (does not in dude external dnvelines, dry dutch parts, or stee!ing cylinders).

                                                                                                            ':W:                    C'                ·,.           �
       Tractors                                                                                  24 Months or 2,000 Hours,'Milchever Comes First
       Tractor,o used in Earthmoving Applications (except those specific
       models and configurations approved by John Deere as having a two                          90 Days
       year warranty in scraper applications}
       Scrapers                                                                                  6 Months
        Frontier Equipment"' CR14, LL 1 3, LL14, and DH44 Series                         6 montns in Agricultu-al or Residential-PersOllal Use, 90 0.?ys in Any other Application
        Other Frontier Equioment'"                                                       12 months in AgriCtJl1Ural 0< Residential-Personal USe, 90 Days in Any otller AppicaliOn
        All other Equioment /includes Ao Management Solutions /AMS) products)            12 Months
  Engines in Self-Propelled Equipment except Tractors'                                24 Months or 2000 Hours, \Mlichever Comes Firat
    "Engine llems Covered months 13 through 24 • Engine block, cylinder head, rocker arm cover. timing gear cover, crankcase pan and all parts enclosed
  within these untts. Also included are the fuel injection pump, turbocharger. water pump. torsion damper, manifolds. and engine oil cooler. /\II other engine
  related items are not covered In months 1 J through 24
SWEEPS, SHOVELS, PLOW SHARES AND DISK BLADES: A replacement part will be furnished without charge � breakage occurs and the amount of wear is
less than the wear limits established by John Doore.
                                                                                                                                                               ,,
                                .      " fii(if'
                                                                                                                   ..                                                         ,cc•
1) All Turf & Utility Equipment and Attachments (except for (i) Equipment listed
                                           ,,. . -,   "                �
                                                                       ']


in 2 through 1 1 below; and, (ii} John Deere Golf equipment covered under                        24 Months in Private Residential • Personal Use
separa1c warranty).                                                                              12 Months in Any Other Application

2) 2225, 2245 and 2425 EZtrak Mowers, 100, L 100, LA100, G100 and 0100 Series
Tractors and Attachments                                                                         24 Months or 120 Hours, Vllhichever Comes First

3) 2500 Series ZTrak Mowers and Attachments.                                                     24 Months or 300 Hours, 'Mlichever Comes First
4) X300 Series Tractors and AttachmenlS; Z445 and 2465 EZtrak Mowern
                                                                                         I
                                                                                                 48 Months or 300 Hours. V\lhichcver Comes First
5) X500 Series Tractors and Attachments; Z600 Series Residential EZtrak Mowers                   48 Morths or SOC Hours. V\'hlchever Comes First

6) X700 Series Tractors and Attachmenl                                                           48 Months or 700 Hours, \Mlichever Comes First
7) JS Series Residential Walk-Behind Mowers                                                      24 Months in Private Residential - Pecsonal Use
                                                                                                 90 Days in Any Other Application
8) Wide Area Mowers. Front Mower Traction Units (with diesel or 20 HP and
above cngines},Commercial Z-TRAK Mowers (except Z500 and Z700 Series).                           24 Months
Commercial Walk Behind Mowers 137 or laroerl and 7-IRON Mower Decks
9) Z700 Series ZTrak Mowers                                                                      24 Months or 700 Hours, Whichever Comes First

1 O} Compact Utility Tractors                                                                    24 Months or 2000 Hours, Whichever Comes First
   a} Powertrain on Compact Utility Tractors (components as per B above)                        36 Months or 2000 Hours, Whichever Comes First

1 1 ) Gator Utility Vehicles (except Compact Series}. Tractor Loader Backhoes                    1 2 Months or 1 000 Hours, Whichever Comes First
(TLB), other mower decks, implements. and attachments for Equipment listed in
8, through 1 1
C. (t) ITEMS COVERED SEPARATELY - (1) Tires and battenes are warranted under separate warranty documents provided with each product; (2) Non-John
 Deere engines in sett-propelled Forage Harvesters. other than model 7950. are warranted separately by their respective manufacturer: (3) John Deere is not
 responsible for Yanmar fuel injection pumps and nozzles during the original manu!acture(s warranty period. \Mlen the pump manufacturers warranty is less than
 the engine warranty. John Deere will provide warranty during the remainder of the original engine warranty term: (4) John Doore Hand Held-Portable products are
covered by a separate warranty; (5) When applicable, a separate emissions warranty statement wif be provided by the selling Dealer. (6) John Deere Walk
 Behind Snowthrower equipment is warranted under a separate warranty. (7) Series 3500 and 5500 rubber tracks are warranted in agricultural use on a pro-rated
basis based on wear and age for 48 months or 4000 hours and 24 months or 2000 hours in other applicationsc
(II) WHAT IS NOT WARRANTED - Pursuant to the terms of these warranties. JOHN DEERE IS NOT RESPONSIBLE FOR THE FOLLOWING: ( 1 ) Used
Equipment; (2) Any Equipment that has been altered or modified in ways not approved by John Deere, including, but not limrted to, setting injection pump fuel
delivery above John Deere specifications and modifying combine grain tanks; (3) Depreciation or damage caused by nonnal wear, lack of reasonable and proper
maintenance, failure to follow operating instructions/recommendations; misuse, lack of proper protection during storage, vandalism, the elements or collision or
accident; (4) Normal maintenance parts and/or service. including but not limited to, oil, filters. coolants and conditioners, cutting parts, belts.brake and dutch

D. SECURING WARRANTY SERVICE - To secure warranty service the purchaser must, (1) Report the Equipment defect to an authorized dealer and request
linings.

warranty service wffhin the applicable warranty term; (2) Present evidence of the warranty start date with valid proof of purchase; and (3) Make tho !equipment
available to the authorized dealer within a reasonable time.




Page 2 of 3                                                       DF-2065 (Effective November 2, 2010)
                                                                                                                                                            Date
    3:18-cv-01107-JMC                             Date Filed 04/23/18                         Entry Number 1-1                          Page 12 of 18




                                                                                                                                                                    ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
  E. NO IMPLIED WARRANTY, REPRESENTATION OR CONDITION - To the extent permitted by law, neither John Deere nor any company affiliated with it
makes any warranties,represen1ations, conditions or promises express or implied as to the quality, performance or freedom from defect of the Equipment covered
by these warranties other than those set forth above, AND NO IMPLIED WARRANTIES OR CONDITIONS OF MERCHANTABILITY OR FITNESS ARE MADE.
TO THE EXTENT LEGALLY REQUIRED, ANY IMPLIED WARRANTIES OR CONDITIONS SHALL BE LIMITED IN DURATION TO THE APPLICABLE PERIOD
OF WARRANTY SET FORTH ON THIS PAGE. THE PURCHASER'S ONLY REMED!ES IN CONNECTION WITH THE BREACH OR PERFORMANCE OF ANY
WARRANTY ON JOHN DEERE EQUIPMENT ARE THOSE SET FORTH ON THIS PAGE. IN NO EVENT IMLL THE DEALER, JOHN DEERE OR ANY
COMPANY AFFILIATED WITH JOHN DEERE BE LIABLE FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES. (Note: Some jurisdictions do not allow
limitations on how long an implied warranty lasts or the exdusion or limitation of incidental or consequential damages so the above limitations and exdusions may
not apply 10 you.) In the event the above warranty fails to correct purcllasers performance problems caused by defects in workmanship anaior materials.
purchaser's exclusive remedy shall be llmited to payment by John Deere of actual damages in an amount not to exceed the amount paid for the product. This
warranty gives you specific legal rights. and you may also have other rights which vary from jurisdiction to jurisdiction.
 F. NO DEALER WARRANTY -THE DEALER HAS NO AUTHORITY TO MAKE ANY WARRANTY, REPRESENTATION, CONDITION OR PROMISE ON
G. If further information is desired, contact the selling Dealer or John Deere at 1-866-993-3373 (Agricultural) or 1-800-537-8233 (Turf & UWity Equipment).
BEHALF OF          JOHN DEERE, OR TO MODIFY THE TERMS OR LIMITATIONS OF THIS WARRANTY IN ANY WAY.




Page 3 of 3                                                DF-2065 (Effective November 2, 201 0)
                                                                                                                                          Date
3:18-cv-01107-JMC   Date Filed 04/23/18   Entry Number 1-1   Page 13 of 18




                                                                             ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
                          EXHIBIT 2

              UCC Financing Statement
                 3:18-cv-01107-JMC                             Date Filed 04/23/18                        Entry Number 1-1                                              Page 14 of 18


                                                        UCC- 1




                                                                                                                                                                                                                  ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY                                                     E-l                          I
                                                                                                                                I ""                                    0                      0
                                                                                                                                                                                           I
                                                                                                            U)                                                                       0
                                                                                                                                  rl                                    0            0         0
                                                                                                                                I
                                                                                                                     0
 A. NAME & PHONE OF CONTACT AT ALER �ptional]
                                                                                                   ,,:
                                                                                                   E-l
                                                                                                                     N
                                                                                                                                    0

                                                                                                                                    '-
                                                                                                                                           "'                                              I
                                                                                                                                I
                                                                                                                                                                                     co
                                                                                                                                           ..                                              I
                                                                                                                                    N                 N                 00
                                                                                                                     .......
 Tonya Adams                                                                                                                    I
                                                                                                                                                                                               rl

                                                                                                                                                                                           I
                                                                                                                                           rl                           if;          if;

                                                                              8436621527                             N              N                                                          if>

                                                                                                                                I
                                                                                                   U)

                                                                                                                                                                                           I
                                                                                                                                           co
                                                                                                   ....              .......
                                                                                                                     r-<            rl

 B. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                    '-
                                                                                                                                I   <r
                                                                                                                                I
                                                                                                   0                  <1'                                                                  I

                                                                                            I
                                                                                                            lI)
                                                                                                            r-
                                                                                                                                I                                                    ..    I
                                                                                                                                                                                           I
                                                                                                                       ..
                                                                                                                     0
                                                                                                   ><                           I
        �borOne ACA                                                                                0:::    °'
                                                                                                           (Y)
                                                                                                                                                            .. ..                    CJ)

                                                                                                   �                                                   ...w
                                                                                                                                                                                     CJ)

        800 Woody Jones Boulevard                                                                  E-l                          I                               C:
                                                                                                           r-<        (j)       I                               .w
                                                                                                           ro        .µ                                                  CJ)      0
                                                                                                                                                                                     (I)



                                                                                                           I         0                                   C:
                                                                                                   c,J     0                    I                               ::,             0 0
                                                                                                                                I                                               C:
                                                                                                                      {ij                                                (I)
                                                                                                   0:::                                                         0
                                                                                                                                                                u
                                                                                                                                                                         (I)    .,-< ,t


                                                                                                                                                                         °'
                                                                                                                                                         ::,             r.,.

          Florence, SC         29501
                                                                                                           '""<1'
                                                                                                           N
                                                                                                                      (j)
                                                                                                                                I
                                                                                                                                I    .. ..             u
                                                                                                                                                         0
                                                                                                                                                                ,..      C:
                                                                                                                                                                                0 ti)
                                                                                                                                                                                ,.. -0
                                                                                                                                                                                                       Q



                                                                                                                                                         °'
                                                                                                                                                                0               .w ...         ri
                                                                                                                                                                                               �
                                                                                                                                                                                                       i
                                                                                                   U)                 (/)
                                                                                                           0          p,        I    (I)   (I)           (I)    .w       ·H     0 0
                                                                                                                                                                ..a                            +>
        L                                                                                          u                                .w     !?.                           rl     ell 0
                                                                                                                     ...:i                             ""
                                                                                            _J
                                                                                                           (Y)        {ij           ro     .,-<          <t)     (I)     ·c<    rl (I)         0
                                                                                                   U)       ...-i                   C,     E-<                  C,       r.,.   w 0:           �       0
                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1 . DEBTOR'S EXACT FULL LEGAL NAME-msertonlygnedebtor name(1 a or 1 b) -do notabbreviateorcombinenames
                                                          -
     1a. ORGANIZATION'S NAME



     1b. lND1VIDUAL'S LASTNAME                                                     FIRST NAME                                                       MIDDUE NAME                                      SUFFIX
OR

     Willard                                                                        Jay                                                             V.
1c. MAJLINGADDRESS                                                                 CITY                                                             STATE            POSTAL CODE                     COUNTRY
                                                                                                                                                                 I
 1050 Brick Church            Rd .                                                  Gable                                                           SC                 29051                         us
1d. TAX ID# (Organizations)       ADD'L INFO RE l 1 e. TYPE OF ORGANIZATION        H. JURISDICTION OF ORGANIZATION                                  1g. ORGANIZATIONAL ID#, � any
                                I g;�;i�ZATION
     DO NOT USE                                 I                              I                                                                I                                                        DNONE
2. I- DDITIONAL DEBTOR'S EXACT FULL LEGAL NAME - Insert only QM debtor name (2a or 2b) - do not abbreviate or combine names
      2a ORGANIZATION'S NAME


     2b. INDIVIDUAL'S LAST NAME                                                    FIRST NAME                                                       MIDDUE NAME                                      SUFFIX
OR



2c. MAILING ADDRESS                                                                CITY                                                             STATE            POSTALCODE                      COUNTRY
                                                                                                                                                                 I

2d. TAX ID#(Organizatlons)        ADD'L INFO R E /2e TYPE OF ORGANIZATION          21. JURISDICTION OF ORGANIZATION                                 2g. ORGANIZATIONAL ID#, i any
                                I ORGANIZATION
     DO NOT USE                   DEBTOR
                                                                                                                                                                                                        DNONE
                                               I                               I                                                             I
3. SECUREO PARTY' S NAM E (orNAME otT0TALASS1GNEEofASS1GNOR S/P) -insertonlyonesecured partyname(3aor3b)
    3a. ORGANIZATION'S NAME
     ArborOne ACA
     3b. INDIVIDUAL'S LAST NAME                                                    FIRST NAME                                                       MIDDLE NAME                                      SUFFIX
OR

                                                                                                                                            _[
                                                                --
:le� AAILING ADDRESS     --                                                        CITY                             ----- 3TATE P0STAL CODE                                                          COUNTRY
                                                                                                                         T     1
800 Woody Jones Boulevard                                                           Florence                              SC     29501                                                               us
4. This FINANCING STATEMENT covers the following collateral:
See attached Schedule A




See attachment.
                                                                                                                                                                                               NON-UCC FILING




SOUTH CAROLINA SECRETARY OF STATE'S OFFICE,                            1205   Pend leton Street Suite               525        Columbia, SC                    29201                           (03/0 1/20 1 1 )
             3:18-cv-01107-JMC               Date Filed 04/23/18         Entry Number 1-1         Page 15 of 18




                                                                                                                                   ELECTRONICALLY FILED - 2018 Mar 22 11:05 AM - SUMTER - COMMON PLEAS - CASE#2018CP4300493
                                                    SCHEDULE A
                                               COLLATERAL DESCRIPTION

       Debtor:                     ,Jay V Willard
       Secured Party:             ArborOne, ACA, for itself and as agent/nominee for its wholly-owned
                                  subsidiary, ArborOne, PCA and ArborOnc, .FLCA (f/k/a iPee Dee :Fam1
                                  C redit, ACA for itself and as agent/nominee for Pee Dee Far,m Credit, PCA
                                  and Pee Dee Farm Credit, FLCA)

       Debtor has granted to Secured Party security interests in the property indicated belowl now owned or
       hereafter acquired, wherever located, which property sha l l be defined in accordance; \Vith the South
       Carolina Uniform Commercial Code revised and effective as of July I , 200 1 (the ··Code") at section 36-9-
       1 02 and related provisions cited therein:
       _!_.     I.      Equipment,                                                                   i
               2.       Fixtures affixed or to be affixed to the real property described on Schedule B attached
                        hereto and made a part hereof;
               3.       Inventory;
                4.      Farm Products;
               5.       Crops;
               6.       Livestock and it,;; progeny;
                7.      Standing Timber to be Cut on the real property described on Schedl:!.l�Q attached hereto
                        and made a part hereof;
               8.       As-Extracted Collateral from the real property described on Sche4ltl<d:! attached hereto
                        and made a part hereof;
               9.       Manufactured Homes�
                1 0.    Instruments;
                1 1.    Promissory Notes;
                12.     Documents;
                13.     Tangible Chattel Paper;
                1 4.    Electronic Chattel Paper;
                1 5.    Accounts;
                1 6.    General Intangibles;
                1 7.    Payment Intangibles
                1 8.    Software;
                1 9.    Deposit Accounts;
               20.      Letter of Credit Rights;
               21.      Investment Property;
               22.      All of Debtor's rights in that certain claim against ----·
                        for -··--··-· ·-------�-------
               23.      Supporting Obligations;
               24.      All rights to payment, now or hereafter owing, to the Debtor from entitlement
                        programs of every kind, both federal and state; and
               25.      All Association Equity: All stock, participation certificates and allocated isurplus credits,
                        including rights thereto, now or hereafter issued by Security Party.

       As well as any and all products or proceeds of any of the above, in any fonn, in�ludi ng, without
       limitation, insurance proceeds.




SC SECRETARY OF STATE'S OFFICE. P.O. BOX l l 350, COLLMfllA, SC 2921 l                                              (5/ 14i2003)
3:18-cv-01107-JMC          Date Filed 04/23/18             Entry Number 1-1   Page 16 of 18



                          South Carolina
                      Department of Insurance
                                                                                  HENRY McMASTER
                                                                                      Governor

                                        Capitol Center
                                  1201 Main Street, Suite 1000
                                                                                RAYMOND G. FARMER
                                 Columbia, South Carolina 29201
                                                                                     Director

                                          Mailing Address:
                             P.O. Box 100105, Columbia, S.C. 29202-3105
                                      Telephone: (803) 737-6160

                                          March 26, 2018



CERTIFIED MAIL
RETURN RECEIPT REQUESTED
NATIONWIDE AGRIBUSINESS INSURANCE COMPANY
c/o Corporation Service Company
1703 Laurel Street
Columbia, SC 29201-0000

Dear Sir:

On March 26, 2018, I accepted service of the attached Summons and Complaint on your behalf.
I am, hereby, forwarding that accepted process on to you pursuant to the provisions of S.C. Code
Ann. § 38-5-70. By forwarding accepted process on to you, I am meeting a ministerial duty
imposed upon me by S.C Code Ann. § 15-9-270. I am not a party to this case. The State of
South Carolina Department of Insurance is not a party to this case. It is important for you to
realize that service was effected upon your insurer on my date of acceptance for service.

You must promptly acknowledge in writing your receipt of this accepted process to
sdubois@doi.sc.gov. When replying, please refer to File Number 169864, Jay V. Willard v.
NATIONWIDE AGRIBUSINESS INSURANCE COMPANY, 2018-CP-43-00493.

By:                                                Sincerely Yours,

1�'£_{<
                     �
David E. Belton                                     Raymond G. Farmer
Senior Associate General Counsel                    Director
(003)737-6132                                       State of Sout� Carolina
                                                    Department of Insurance

Attachment

CC:     William H. Johnson
        Post Office Box 137
        Manning, SC      29102
    3:18-cv-01107-JMC         Date Filed 04/23/18      Entry Number 1-1    Page 17 of 18




STATE OF SOUTH CAROLINA                          )   IN THE COURT OF COMMON PLEAS
                                                 )   FOR THE THIRD JUDICIAL CIRCUIT
COUNTY OF SUMTER                                 )   CASE No.: 2018-CP-43-00493

Jay V. Willard,                            )
                                           )
                    Plaintiff,             )
                                           )
      v.                                   )                      DEFENDANT’S
                                           )                    NOTICE OF FILING
Nationwide Agribusiness Insurance Company, )                   NOTICE OF REMOVAL
                                           )
                    Defendant.             )
______________________________________ )

        TO:     The Honorable James C Campbell                                               
                Sumter County Clerk of Court, 215 N. Harvin Street                           
                Sumter, SC 29150                                                             
                                                                                             
        PLEASE TAKE NOTICE that the Defendant Nationwide Agribusiness Insurance

Company have this day filed in the United States District Court for the District of South

Carolina, Columbia Division, the attached Notice of Removal. Pursuant to 28 U.S.C. § 1446(d),

the above-styled action is now removed and all further proceedings in the Court of Common

Pleas, Sumter County, State of South Carolina, are stayed.

        Respectfully submitted this 23rd day of April, 2018.

                                         WOMBLE BOND DICKINSON (US) LLP

                                         S/ Greg Horton
                                         ____________________________________
                                         Greg Horton, Esquire (S.C. Bar No. 11343)
                                         Greg.Horton@wbd-us.com
                                         R. Andrew Walden, Esquire (S.C. Bar No. 101004)
                                         Andrew.Walden@wbd-us.com
                                         5 Exchange Street, Charleston, SC 29401
                                         Post Office Box 999, Charleston, SC 29402
                                         Ph.: (843) 722-3400; Fax.: 723-7398

Charleston, South Carolina               Attorneys for Defendant Nationwide Agribusiness
April 23, 2018                           Insurance Company

WBD (US) 42579083 – v.1                     Page 1 of 2            
 
    3:18-cv-01107-JMC          Date Filed 04/23/18      Entry Number 1-1       Page 18 of 18




STATE OF SOUTH CAROLINA                          )     IN THE COURT OF COMMON PLEAS
                                                 )     FOR THE THIRD JUDICIAL CIRCUIT
COUNTY OF SUMTER                                 )     CASE No.: 2018-CP-43-00493

Jay V. Willard,                            )
                                           )
                    Plaintiff,             )
                                           )
      v.                                   )               CERTIFICATE OF SERVICE
                                                                    DEFENDANT’S
                                           )
                                                                  NOTICE OF FILING
Nationwide Agribusiness Insurance Company, )                     NOTICE OF REMOVAL
                                           )
                    Defendant.             )
______________________________________ )

        I do hereby certify, that on April 23, 2018, pursuant to Rule 5(b)(1), SCRCP, I served a

true and correct copy of the above-captioned to counsel for Plaintiffs, via electronic mail and by

depositing it in the U.S. Mail, in an envelope with sufficient postage prepaid and affixed.


        William H. Johnson, Esquire
        S. C. Bar No. 15167
        LAW OFFICES OF WILLIAM H. JOHNSON, LLC
        william@whjohnsonlaw.com
        PO Box 137 – 411 N. Brooks Street
        Manning, South Carolina 29102
        Ph.: (803) 435-0909; Fax.: 435-2858

        Attorneys for the Plaintiff


                                                     WOMBLE BOND DICKINSON (US) LLP




                                                     ____________________________________
                                                     Joseph R. David, Paralegal




WBD (US) 42579083 – v.1                     Page 2 of 2             
 
